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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC.,                           )
                                                    )
and                                                 )
                                                    )
HAND2MIND, INC.,                                    )
                                                    )
                                                    )
                        Plaintiffs,                 )
                                                    )
        v.                                          )      Civil Action No. 1:25-cv-01248-RC
                                                    )
DONALD J. TRUMP, President of the United            )
States, in his official capacity; KRISTI NOEM,      )
Secretary of the U.S. Department of Homeland )
Security, in her official capacity; U.S.            )
DEPARMENT OF HOMELAND SECURITY;                     )
SCOTT BESSENT, Secretary of the Treasury,           )
in his official capacity; U.S. DEPARTMENT           )
OF THE TREASURY; HOWARD LUTNICK,                    )
Secretary of Commerce, in his official capacity; )
U.S. DEPARTMENT OF COMMERCE;                        )
PETE R. FLORES, Acting Commissioner of              )
U.S. Customs & Border Protection, in his official )
capacity; U.S. CUSTOMS & BORDER                     )
PROTECTION; JAMIESON GREER,                         )
U.S. Trade Representative, in his official capacity;)
THE OFFICE OF THE U.S. TRADE                        )
REPRESENTATIVE,                                     )
                                                    )
                        Defendants.                 )
                                                    )

            REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO TRANSFER
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                                        INTRODUCTION

       “Congress granted the Court of International Trade exclusive jurisdiction over suits

relating to tariffs, duties, fees, or other taxes on the importation of merchandise.” K Mart Corp.

v. Cartier, Inc., 485 U.S. 176, 188 (1988) (cleaned up). Plaintiffs challenge tariffs imposed

under the International Emergency Economic Powers Act (IEEPA), as well as their

administration and enforcement, by asking for changes to the Harmonized Tariff Schedule.

Their challenge falls within the exclusive jurisdiction of the Court of International Trade, and

transfer of this action to that court is the only appropriate recourse. See Webber v. DHS, No. 25-

cv-26, 2025 WL 1207587, at *6 (D. Mont. Apr. 25, 2025) (transferring case raising a materially

indistinguishable IEEPA challenge to the Court of International Trade).

       Plaintiffs’ arguments to the contrary conflict with circuit precedent and materially

identical cases currently pending before the Court of International Trade on the merits, and,

ultimately, turn Congress’s exclusive jurisdictional scheme on its head. The regime plaintiffs

advocate, where the merits of their challenge to the President’s tariffs are “coextensive with the

jurisdictional question,” ECF No. 17 (PI Reply) at 25 n.7, would effectively destroy the

exclusivity of the Court of International Trade’s jurisdiction, rendering the exclusive-jurisdiction

statute self-defeating. That is no way to interpret the statute. Instead, transfer is required for the

Court of International Trade to construe the statute and decide the merits of the case.

                                           ARGUMENT

I.     The Court Of International Trade Has Exclusive Jurisdiction Over This Case

       As in all cases, plaintiffs bear the burden of establishing that this Court has jurisdiction.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992); Ferebok v. Dist. of Columbia, 534 F. Supp.

2d 25, 27 (D.D.C. 2008) (finding that plaintiffs failed to meet their burden, where a different




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court possessed exclusive jurisdiction), aff’d, 2008 WL 11530323 (D.C. Cir. June 24, 2008).

Plaintiffs have not met that burden here: jurisdiction lies exclusively with the Court of

International Trade, and “the decision of whether to transfer this matter is not a discretionary

one.” Webber, 2025 WL 1207587, at *6. Moreover, precedent from the D.C. Circuit and other

courts of appeals makes clear that to the extent there are threshold questions about the Court of

International Trade’s jurisdiction, respect for the system of exclusive jurisdiction Congress

established makes transfer the appropriate course to allow the specialized trade court to assess its

own jurisdiction.

       A.      28 U.S.C. § 1581(i) Divests This Court Of Jurisdiction

       This Court lacks jurisdiction for two independent reasons. First, the Court of

International Trade has “exclusive jurisdiction” over challenges arising out of any law

“providing for . . . tariffs.” 28 U.S.C. § 1581(i)(1)(B); see ECF No. 8 (Mot.) at 11. Section

1581(i) is a “broad jurisdictional grant,” enacted as an additional and “residual” source of

jurisdiction to supplement the more specific provisions of subsections (a) through (h). H.R. Rep.

No. 96-1235 at 47 (1980). In furtherance of that broad grant, Congress used broad language.

“Providing for,” in this context, means “relating to.” K Mart, 485 U.S. at 188; see H.R. Rep. No.

96-1235 at 34 (the adopted language refers to “actions which arise out of a law of the United

States pertaining to international trade” (emphasis added)); Int’l Lab. Rights Educ. & Rsch. Fund

v. Bush, 954 F.2d 745, 747 (D.C. Cir. 1992) (Henderson, J., concurring) (this “expansive

definition” covers claims that “relate to” import duties); see also Ellet v. Stanislaus, 506 F.3d

774, 777 (9th Cir. 2007) (regarding a broad bankruptcy statute, construing the phrase “provide

for” to mean “make a provision for,” “deal with,” or “refer to.” ); In re Gregory, 705 F.2d 1118,

1122 (9th Cir. 1983) (same). The Supreme Court has noted, for example, that section 1581(i)




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grants the Court of International Trade exclusive jurisdiction over “suits relating to” the matters

listed in that section. K Mart, 485 U.S. at 188 (emphasis added). This does not mean, as

plaintiffs mischaracterize our position, that the Court of International Trade has exclusive

jurisdiction over “every suit against the Government challenging customs-related laws and

regulations.” ECF No. 18 (Opp.) at 3-4 (quoting K Mart, 485 U.S. at 188). Here, it simply

means the delineation Congress and the Supreme Court have drawn in section 1581(i)(1)(B):

“Congress granted the Court of International Trade exclusive jurisdiction over suits relating to

tariffs, duties, fees, or other taxes on the importation of merchandise”—just “not if they are for

the raising of revenue.” K Mart, 485 U.S. at 188 (cleaned up). This action readily falls within

the meaning of section 1581(i)(1)(B).

       Plaintiffs resist this conclusion primarily based on Miami Free Zone Corp. v. Foreign

Trade Zones Board, 22 F.3d 1110 (D.C. Cir. 1994). Opp. 3. There, the D.C. Circuit considered

whether the Court of International Trade had exclusive jurisdiction over a suit brought under a

statute that provided certain exemptions from duties, and questioned whether a statute allowing

for exemptions from tariffs and duties could be one “providing for tariffs and duties” under

section 1581(i)(1)(B). Miami Free Zone, 22 F.3d at 1112.

       No such issue is present here. There is no argument that IEEPA creates an exemption or

otherwise prevents the collection of applicable tariffs and duties. Instead, the President has

exercised authority under IEEPA to impose tariffs, and plaintiffs seek to challenge the validity of

that exercise of authority. That challenge is precisely the sort of action in which Congress’s

grant of exclusive jurisdiction to the Court of International Trade over tariff matters calls for

centralization of such matters in that court. Plaintiffs repeatedly assert that the tariffs are being

implemented by Customs and Border Protection through the Harmonized Tariff Schedule




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(HTSUS), and that such implementation is unlawful. See, e.g., ECF No. 1 ¶¶ 9, 37, 40, 43, 46.

Plaintiffs’ very theory of harm hinges on their payment of “additional tariffs . . . because of the

Challenged Orders and corresponding revisions to the HTSUS.” Id. ¶ 24. And they seek to

enjoin enforcement of those tariffs, id. ¶¶ 9, 74, 90, and to “set modifications to the HTSUS

aside,” id. ¶ 99. At the heart of this action is plaintiffs’ request that they “no longer be required

to pay the tariff[s],” id. ¶ 24—a matter that belongs before the court with “an already developed

expertise in international trade and tariff matters,” Conoco, Inc. v. U.S. Foreign-Trade Zones

Bd., 18 F.3d 1581, 1586 (Fed. Cir. 1994); see, e.g., Totes-Isotoner Corp. v. United States,

594 F.3d 1346, 1350-51 (Fed. Cir. 2010) (importer’s challenge to a higher tariff implemented

under the Harmonized Tariff Schedule was reviewable by the Court of International Trade under

section 1581(i)); Cornet Stores v. Morton, 632 F.2d 96 (9th Cir. 1980) (challenge to tariffs

imposed under IEEPA’s predecessor statute, “fulfilled through the existing scheme for the

collection of customs duties,” belonged in the Court of International Trade). Creative pleading

cannot alter the fundamental nature of plaintiffs’ suit or displace Congress’s choice to create a

single exclusive forum for these disputes. See Hutchison Quality Furniture, Inc. v. United

States, 827 F.3d 1355, 1360 (Fed. Cir. 2016) (assessing the “true nature of a particular action” to

determine whether jurisdiction is proper); Heller, Ehrman, White & MacAuliffe v. Babbitt,

922 F.2d 360, 363 (D.C. Cir. 1993) (plaintiffs “may not, by creatively framing their complaint,

circumvent a congressional grant of exclusive jurisdiction”). 1


       1 Plaintiffs briefly raise two other ancillary points.
                                                            First, they say section 1581(i) does
not apply because IEEPA is not located in Title 19 of the U.S. Code where other trade laws are
located. Opp. 4. But section 1581(i) does not limit jurisdiction to laws appearing in Title 19,
and a statute’s placement in the U.S. Code does not determine its scope. See H.R. Rep. No. 96-
1235 at 34-35 (opting for a “generic approach” rather than a “listing of specific statutes”).
Second, plaintiffs argue that an earlier congressional proposal would have given the Court of
International Trade an even broader grant of jurisdiction. Opp. 4 n.2. That Congress considered
giving the court even broader jurisdiction does not mean that section 1581(i) does not apply here,


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       Second, plaintiffs respond only with respect to section 1581(i)(1)(B), but defendants’

motion (at 11) also explained that, through another provision, Congress additionally granted the

Court of International Trade exclusive jurisdiction over actions pertaining to laws providing for

“administration and enforcement with respect to the matters referred to in” sections (a) through

(i). 28 U.S.C. § 1581(i)(1)(D) (covering a wide array of trade laws) (emphasis added); see also

Miami Free Zone, 22 F.3d at 1112 (holding that the “with respect to matters” language in this

subsection “is more expansive” than the preceding paragraphs of 1581(i)). Plaintiffs have thus

forfeited this argument, dooming their jurisdiction argument. See, e.g., Wye Oak Tech., Inc. v.

Republic of Iraq, 24 F.4th 686, 696 (D.C. Cir. 2022) (“arguments in favor of subject matter

jurisdiction can be waived by inattention or deliberate choice” (emphasis added)). In any event,

this is such a lawsuit: Plaintiffs challenge the administration and enforcement of tariffs against

them, including the modification to the Harmonized Tariff Schedule, which is a quintessential

matter for the Court of International Trade under section 1581(i). See, e.g., Totes-Isotoner,

594 F.3d at 1350-51. Yet Plaintiffs do not answer this independent argument.

       B.      The Court Of International Trade (Like Its Predecessor) Has Exercised
               Jurisdiction Over Materially Indistinguishable Challenges

       That the Court of International Trade has exercised its jurisdiction over similar cases only

confirms that plaintiffs filed their action in the wrong court. See Consumers Union v. Comm. for

the Implementation of Textile Agreements, 561 F.2d 872, 874 (D.C. Cir. 1977) (conclusion that

the district court lacked jurisdiction “is buttressed by the fact that the Customs Court has



and inferences from unenacted versions of statutes are weak. See H.R. Rep. No. 96-1235 at 34
(the adopted language in section 1581(i) refers to “actions which arise out of a law of the United
States pertaining to international trade”); Ramos v. Louisiana, 590 U.S. 83, 98 (2020) (“[W]e are
much better served by interpreting the language Congress retained.”); Bank One Chi., N.A. v.
Midwest Bank & Tr. Co., 516 U.S. 264, 279 (1996) (Scalia, J., concurring) (explaining problems
with relying on “the drafting evolution” of a bill).


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frequently exercised such jurisdiction”); Int’l Lab. Rights Fund v. Bush, 357 F. Supp. 2d 204,

209 (D.D.C. 2004) (“that the CIT has previously exercised jurisdiction” over the same type of

case “also supports the Court’s finding that the plaintiffs’ action falls within the CIT’s exclusive

jurisdiction”). Plaintiffs concede that “the CIT is currently considering other parallel IEEPA

challenges,” Opp. 8—two of which have been extensively briefed on the merits and will be

argued this week and next. See V.O.S. Selections, Inc. v. Trump, No. 25-cv-66, ECF No. 10 (Ct.

Int’l Trade Apr. 18, 2025) (May 13 hearing on preliminary injunction and summary judgment);

Oregon v. Trump, No. 25-cv-77, ECF Nos. 14, 15 (Ct. Int’l Trade May 7, 2025) (May 21 hearing

on summary judgment); see also Princess Awesome v. CBP, No. 25-cv-78, ECF No. 1 (Ct. Int’l

Trade Apr. 24, 2025); Barnes v. United States, No. 25-cv-43, ECF No. 3 (Ct. Int’l Trade Feb. 3,

2025). Plaintiffs also concede that the Federal Circuit’s predecessor upheld tariffs imposed

under substantively identical language in IEEPA’s predecessor statute (TWEA) and that the case

was heard originally “in the U.S. Customs Court.” Opp. 4; see United States v. Yoshida,

526 F.2d 560 (C.C.P.A. 1975). And plaintiffs concede that “other courts,” including this court,

have transferred actions “in two other TWEA” cases and “an IEEPA tariff challenge.” Opp. 4-5;

see Cornet, 632 F.2d 96; Henry Pollak, Inc. v. Blumenthal, 444 F. Supp. 56 (D.D.C. 1977);

Webber, 2025 WL 1207587, at *1.

       In plaintiffs’ telling, all of those courts got it wrong. But precedent instructs that this

“frequent[] exercise[]” of jurisdiction by the Court of International Trade is strong evidence of

that court’s exclusive jurisdiction. Consumers Union, 561 F.2d at 874; see Henry Pollak, 444 F.

Supp. at 59 (concluding that “plaintiffs ask too much of this tribunal in claiming the right to

come before it,” where Congress and the Federal Circuit’s predecessor “are authoritative sources

of wisdom regarding Customs Court jurisdiction” and the Supreme Court, by denying certiorari




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in a follow-on case to Yoshida, had “chosen not to speak on the matter”).

        The Court can easily reject each of plaintiffs’ arguments. First, they say that Yoshida,

Cornet, and Henry Pollak are inapposite because they involved a different jurisdictional

provision, section 1582, that has since been amended, and that Webber relied primarily on those

cases. Opp. 5. This purported distinction only cuts against plaintiffs because the amendment

(section 1581(i)) “expanded the jurisdiction of the CIT beyond that of the earlier Customs

Court.” Earth Island Inst. v. Christopher, 6 F.3d 648, 651 (9th Cir. 1993) (emphasis added).

Former section 1582 gave the then-Customs Court exclusive jurisdiction over challenges to the

calculation of duties owed and similar administrative decisions by customs officers. In creating

the Court of International Trade, Congress retained this jurisdiction in the modern section

1581(a), and it added new bases for jurisdiction, including through section 1581(i). See Earth

Island, 6 F.3d at 651; see also id. at 652 (distinguishing cases permitting lawsuits to proceed in

district court that were “decided before § 1581(i) expanded the jurisdiction of the CIT”); H.R.

Rep. No. 96-1235 at 47 (enacting section 1581(i) as a “residual” source of jurisdiction). Thus,

far from “shed[ding] no light” on the jurisdictional question here, Opp. 5 n.3, Yoshida, Cornet,

Henry Pollak, and Webber all confirm that this case belongs in the specialized trade court, not

district court.

        Next, plaintiffs urge this Court to discount the pending merits proceedings in the Court of

International Trade because “[t]he parties in those cases have not disputed the Court’s

jurisdiction, and the CIT has not addressed it.” Opp. 8. The Court of International Trade, just

like other courts, must “assure itself that jurisdiction exists” before considering the merits of a

case. Dubost v. USPTO, 777 F.2d 1561, 1564 (Fed. Cir. 1985); PODS, Inc. v. Porta Stor, Inc.,

484 F.3d 1359, 1365 (Fed. Cir. 2007). That court has done so even when no party challenged its




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statutory jurisdiction. See, e.g., AM/NS Calvert LLC v. United States, 654 F. Supp. 3d 1324,

1337 (Ct. Int’l Trade 2023).

       Plaintiffs also seem to think that because district courts have heard other challenges under

IEEPA not pertaining to tariffs, it somehow follows that this IEEPA challenge must be heard in

district court. Opp. 8-11. Plaintiffs’ reasoning “fail[s] to distinguish between the different types

of actions that could arise out of” IEEPA. Orleans Int’l, Inc. v. United States, 334 F.3d 1375,

1379 (Fed. Cir. 2003). “That many matters arising under [IEEPA] . . . are adjudicated by the

district courts is beside the point.” Henry Pollak, 444 F. Supp. at 59. Plaintiffs’ IEEPA

challenge expressly concerns tariffs, a “specialized area of the law” in which plaintiffs admit the

Court of International Trade “has unique and specialized expertise.” Opp. 8; see Conoco,

18 F.3d at 1586 (the purpose of consolidating “international trade and tariff matters” before that

court was to achieve “uniformity and consistency” in those subject matters). Such a challenge

belongs in the Court of International Trade. See Henry Pollak, 444 F. Supp. at 59 (“[T]he issue

is where litigation involving the import surcharge program in particular belongs.”). That

conclusion has no bearing on other IEEPA challenges—concerning economic sanctions, criminal

actions, seizures, or other matters, Opp. 8-11—that can continue to be heard in district courts.

       Plaintiffs similarly argue that “three similar IEEPA tariff challenges are pending in

federal district courts,” Opp. 5, 8, apparently believing that shows that the general grant of

federal-question jurisdiction supplants the Court of International Trade’s exclusive jurisdiction.

That, of course, gets the analysis backward. See 28 U.S.C. § 1337 (divesting district courts of

jurisdiction over “any matter within the exclusive jurisdiction of the Court of International

Trade”). In none of those actions has the district court found jurisdiction proper, and defendants

have moved to transfer each to the Court of International Trade. Litigants cannot escape




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exclusivity merely by filing repeatedly in the wrong courts.

       C.         Precedent And Other Authorities Require Transfer

       Even if this Court has any doubt about whether this action falls within the broad

jurisdictional grant of 28 U.S.C. § 1581(i), that question should be resolved by the Court of

International Trade (and the Federal Circuit in due course), which is intimately familiar with the

scope of its own jurisdictional statute. In SCM Corp. v. ITC, for example, the D.C. Circuit

concluded that, particularly given the specialized nature of the trade court, “the Customs Court

itself should be given the opportunity to utilize its own expertise concerning the applicable

statutes, and to determine whether or not it has jurisdiction to review” the plaintiff’s challenge.

549 F.2d 812, 821 (D.C. Cir. 1977). The D.C. Circuit arrived at this holding even though it

recognized there were “serious questions” with the plaintiff’s ability to bring its claims before

the Customs Court. Id. But because the argument for the Customs Court’s exclusive jurisdiction

reflected “quite possible constructions” of the jurisdictional statute, transfer was necessary. Id.;

accord Pentax Corp. v. Myhra, 72 F.3d 708, 711 (9th Cir. 1995) (“the prudent thing to do is . . .

to transfer the case to the CIT so that the CIT can determine the question of its own

jurisdiction”).

       The D.C. Circuit acted similarly in Miami Free Zone. Despite doubting that the statutory

reading in favor of exclusive jurisdiction was “the obvious one,” the court recognized “the value

of uniformity in judicial review of these matters” and thus deferred to the Federal Circuit’s

determination of the Court of International Trade’s jurisdiction. 2 22 F.3d at 1113; see Barclay


       2 Plaintiffs contend there is no determination to defer to, Opp. 8, but the Federal Circuit’s

predecessor already exercised jurisdiction to reach the merits of the same challenge under
IEEPA’s predecessor statute, Yoshida, 526 F.2d 560. That decision remains binding on courts in
the Federal Circuit. S. Corp. v. United States, 690 F.2d 1368, 1370 (Fed. Cir. 1982). Plaintiffs’
argument rings hollow in any event, where they rushed to file in the wrong court, before the
Court of International Trade imminently hears the same challenges on the merits.


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Indus., Inc. v. Carter, 494 F. Supp. 912, 913 (D.D.C. 1980) (holding that the Customs Court had

exclusive jurisdiction, “[a]lthough the answer is not free from doubt”); Roseberry-Andrews v.

Wilson, 292 F. Supp. 3d 446, 459 (D.D.C. 2018) (under a different exclusive jurisdictional

provision, concluding that “the correct course of action is to transfer the entire case” because the

Court of Federal Claims “may have jurisdiction”).

       This is not a “practical consideration[]” that avoids “otherwise available jurisdiction,”

Opp. 7; instead, this rule follows from the nature of an exclusive grant of jurisdiction. Plaintiffs’

approach—requiring the court in which a tariff challenge is filed to decide the underlying merits,

regardless of whether it has jurisdiction—would defeat the exclusive jurisdiction scheme

Congress established. That would mean that courts effectively exercise concurrent jurisdiction

over identical matters, “negat[ing] the intent of Congress in granting exclusive jurisdiction over

certain matters to the Court of International Trade.” Orleans, 334 F.3d at 1378 (cleaned up); see

Commodities Exp. Co. v. U.S. Customs Serv., 957 F.2d 223, 227 (6th Cir. 1992) (the Court of

International Trade “has the power to decide its own jurisdiction”; to hold otherwise “would

invite the various district and circuit courts to redraw the jurisdictional lines separating the two

tribunals”). Plaintiffs’ approach would turn section 1581 into a self-defeating statute, effectively

nullifying, instead of creating, exclusive jurisdiction in the Court of International Trade. But see,

e.g., DHS v. MacLean, 574 U.S. 383, 393 (2015) (rejecting interpretation that would permit

agencies to ban whistleblowing, when Congress enacted statute “precisely because it did not trust

agencies to regulate whistleblowers”); United States v. Williams, 553 U.S. 285, 302 (2008)

(rejecting a reading of a statute that would “be self-defeating” and “effectively nullify” it). If

each district court must decide the merits of a tariff challenge to determine whether it has

jurisdiction, the Court of International Trade in effect lacks exclusive jurisdiction. The Court




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should reject plaintiffs’ attempt to end-run the system Congress intentionally created—especially

when functionally identical suits are pending in the Court of International Trade right now, and

that court is poised to decide those suits on their merits soon.

       Other exclusive-jurisdiction regimes follow the same principle. “The Federal Circuit has

emphasized that issues within [the lower courts’] exclusive jurisdiction must be decided in the

first instance in [those] court[s].” Chisolm v. United States, 82 Fed. Cl. 185, 197 (2008), aff’d,

298 F. App’x 957 (Fed. Cir. 2008); see Christopher Vill., L.P. v. United States, 360 F.3d 1319,

1332-33 (Fed. Cir. 2004) (rejecting another circuit’s merits decision on a question for which

exclusive jurisdiction rested in the Court of Federal Claims); Jan’s Helicopter Serv., Inc. v. FAA,

525 F.3d 1299, 1309 (Fed. Cir. 2008) (claims exceeding the Little Tucker Act should be

transferred from district courts without examination of the merits because “[a] contrary rule

would seriously undermine Congress’s decision to vest the Court of Federal Claims with

exclusive jurisdiction over [such] claims”).

       The authorities cited by plaintiffs (at 6-7) do not cut against this conclusion because they

are not matters where one court has exclusive jurisdiction over a matter in order to guarantee

uniformity and unique expertise, and where permitting another court to decide the merits in the

first instance would effectively defeat that scheme. Brownback v. King, 592 U.S. 209 (2021),

addressed a question based on res judicata, a doctrine that requires merits determination.

Williams Gas Processing-Gulf Coast Co. v. FERC, 331 F.3d 1011 (D.C. Cir. 2003), concerned

the agency’s jurisdiction over a petition, not the Court’s. And Hose v. INS, 180 F.3d 992 (9th

Cir. 1999), held that transfer was improper when the claims underlying a habeas petition were

not subject to judicial review. None of those cases has any bearing on this case.




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       D.      To The Extent The Court Evaluates The Merits, Plaintiffs’ Arguments Fail

       If this Court were to look to the merits to decide transfer, as plaintiffs ask, it should still

transfer the case because IEEPA provides for imposition of tariffs, as defendants explained in

opposing plaintiffs’ motion for a preliminary injunction. See ECF No. 16. We respectfully refer

the Court to that merits briefing. Additionally, we summarize here defendants’ response to

additional merits arguments that plaintiffs have since made, which mirror those presently before

the Court of International Trade on fully briefed merits motions.

       Plaintiffs argue that defendants “cannot cite a single other statute in which a grant to the

Executive of the power to ‘regulate’ is understood as authority to impose … tariffs.” PI Reply 4.

But defendants already have: IEEPA’s predecessor, TWEA. See Yoshida, 526 F.2d at 576.

Regardless, “regulate” is a “transitive verb and require[s] an object—like an activity, process, or

action—to express a complete thought.” TikTok Inc. v. Trump, 507 F. Supp. 3d 92, 103 (D.D.C.

2020). The question is thus not whether the word “regulate” carries that power alone and in

every circumstance, but whether IEEPA, including the phrase “regulate . . . importation,”

authorizes tariffs, given IEEPA’s history and purpose. None of plaintiffs’ examples are relevant

to that question. See V.O.S. Selections, ECF No. 27 at 6-9 (making these points before the Court

of International Trade).

       Plaintiffs try to paint Yoshida as irrelevant (PI Reply 9-10, 13, 15), but there is no

question that Congress acknowledged Yoshida and its holding that President Nixon permissibly

relied on TWEA to impose tariffs, and not only kept the exact same operative language in

IEEPA but also declined to add tariffs as an exception to the general grant of authority set forth

in IEEPA. See V.O.S. Selections, ECF No. 27 at 3-4; see also ECF No. 16 at 17.

       Plaintiffs also argue that Congress’s enactment of Section 122 of the Trade Act of 1974




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(19 U.S.C. § 2132) means that it intended to limit the circumstances in which a President may

impose tariffs. PI Reply 12-13. But Yoshida was decided after Section 122 was enacted, yet that

court rejected the idea that statutes applicable in non-emergency situations (such as Section 122)

can narrow the powers available in an emergency. See 526 F.2d at 578 (“trade acts” that do not

involve “national emergency powers” did not narrow TWEA’s scope). In any event, the

intersecting timelines of the Yoshida litigation and the enactment of Section 122 only confirm

that Congress intended to give the President broad emergency powers to impose tariffs. See

V.O.S. Selections, ECF No. 27 at 4-5.

       Plaintiffs’ remaining arguments—that these tariffs go beyond IEEPA’s authorization, PI

Reply 16-19—do not go to whether IEEPA “provides . . . for tariffs,” 28 U.S.C. § 1581(i), so

even under Plaintiffs’ merits-first approach to deciding the jurisdiction, the Court should not

consider them at this stage.

II.    Transfer, Not Dismissal, Is The Appropriate Action Here

       Plaintiffs alternatively request that the Court dismiss, rather than transfer, this action.

Opp. 11. Their sole reason—so they “may file an immediate appeal to the D.C. Circuit,” id.—

reveals why transfer, not dismissal, is necessary here. The D.C. Circuit has cautioned litigants

against “fil[ing] appeals in our court which should more properly have been filed in the Federal

Circuit,” and emphasized that transfer under 28 U.S.C. § 1631 is “in the interest of justice” when

“special jurisdictional provisions” are at issue. Pro. Managers’ Ass’n v. United States, 761 F.2d

740, 745 & n.5 (D.C. Cir. 1985); see, e.g., Amerijet Int’l, Inc. v. DHS, 43 F. Supp. 3d 4, 21

(D.D.C. 2014) (Contreras, J.) (“transfer, not dismissal, is the preferable disposition” when the

transferee forum is already evaluating “markedly similar” “factual, legal, and procedural

issues”); Ghebreyesus v. Fed. Democratic Republic of Ethiopia, No. 21-cv-2865, 2022 WL




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4534631, at *5 (D.D.C. Sept. 28, 2022) (transferring case to “avoid piecemeal litigation over

related claims, and potential appeals, in two different courts”). Plaintiffs would be free to raise

their jurisdictional arguments to the Court of International Trade, but this Court should not

indulge a request for dismissal made expressly to circumvent special jurisdictional provisions

and evade review by the Court of International Trade and the Federal Circuit.

                                         CONCLUSION

         For these reasons, the Court should transfer this action to the Court of International

Trade.




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DATED: May 12, 2025                          Respectfully submitted,

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